Case 2:25-cv-02001-AMD-SIL           Document 11        Filed 06/11/25       Page 1 of 3 PageID #: 33




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 June 11, 2025

 VIA ECF
 Honorable Ann M. Donnelly
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East, Courtroom 4GN
 Brooklyn, New York 11201

 Re:    Perez, et al. v. Berkeley College, Case No. 2:25-cv-02001 (E.D.N.Y) – Plaintiff’s
        Response to Defendant’s Pre-Motion Conference Request.

 Dear Judge Donnelly:

         We represent Plaintiff, Dennis Perez (“Plaintiff”), in his claims against Defendant Berkeley
 College (“Defendant”). We write to formally respond to Defendant’s Pre-Motion Conference
 Request [ECF No. 9] and note Plaintiff’s anticipated opposition to Defendant’s anticipated motions
 to compel arbitration, dismiss Plaintiff’s claims and stay this action. While Defendant notes its
 intent to dismiss Plaintiff’s ancillary state law claims, Plaintiff notes that his Complaint only
 brought a federal claim under the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §
 227, et seq.

         Plaintiff brings this putative class action alleging that Defendant violated Plaintiff’s and
 the prospective class members’ rights under the TCPA, by sending promotional text messages to
 Plaintiff and the putative class, despite Plaintiff and the class opting out from further text messages
 from Defendant and despite Defendant acknowledging receipt of Plaintiff’s and the class’s opt out
 requests. Plaintiff seeks statutory damages under the TCPA and injunctive relief enjoining
 Defendant from sending its promotional text messages to Plaintiff and the proposed class
 members.

         Despite the parties’ ongoing discussions and pre-suit investigations, which began as early
 as March 13, 2025, Defendant waited until June 4, 2025 to first raise existence of an alleged
 arbitration agreement between Plaintiff and Defendant, via its Pre-Motion Conference Request
 [ECF No. 9]. A copy of the parties’ correspondence is attached hereto as Exhibit A.

         Due to Defendant’s delayed disclosure of this alleged agreement, along with Defendant’s
 refusal to produce such evidence after filing its Pre-Motion Conference Request, Plaintiff
 respectfully requests that Defendant be ordered to produce all of its alleged evidence, which it
Case 2:25-cv-02001-AMD-SIL           Document 11        Filed 06/11/25       Page 2 of 3 PageID #: 34




 claims supports its motion to compel arbitration, prior to Defendant’s filing of any of its anticipated
 motions. To the extent there is evidence in support of a motion to compel arbitration (Plaintiff has
 not yet seen it) Plaintiff further requests that this Court order the parties to engage in good faith
 resolution discussions for a period of fourteen (14) days following Plaintiff’s receipt of
 Defendant’s alleged evidence. Such a thoughtful process will ensure that both parties’ resources,
 as well as this Court’s resources, are not wasted over unnecessary litigation.

   I.   Defendant Has Not Shown that An Agreement to Arbitrate Exists

         In the Second Circuit, the party seeking to compel arbitration bears the burden of
 demonstrating that an agreement to arbitrate actually exists. See Zachman v. Hudson Valley
 Federal Credit Union, 49 F.4th 95, 101–02 (2d Cir. 2022) citing Doctor's Assocs., Inc. v.
 Alemayehu, 934 F.3d 245, 254 (2d Cir. 2019); Almacenes Fernandez, S.A. v. Golodetz, 148 F.2d
 625, 628 (2d Cir. 1945) (noting that the parties seeking a stay in favor of arbitration “supported
 their application ... by showing at least prima facie that” an agreement to arbitrate was proposed
 and accepted); see also Interocean Shipping Co. v. Nat'l Shipping & Trading Corp., 462 F.2d 673,
 675 (2d Cir. 1972) (describing the evidence included in the initial petition of the party seeking to
 compel arbitration). “This burden does not require the moving party to show that the agreement
 would be enforceable—only that an agreement to arbitrate existed.” Zachman, 49 F.4th 95 at 102.

         Throughout the pendency of this case (as well as the pre-suit investigation stage), not once
 has Defendant or its counsel notified Plaintiff of the existence of any alleged agreement to arbitrate
 Plaintiff’s claims asserted in this lawsuit. Nor has Defendant attached any such evidence to its June
 4, 2025 Pre-Motion Conference Request. In fact, the same day Defendant filed its Pre-Motion
 Conference Request, counsel for Plaintiff immediately requested the production of the alleged
 arbitration agreement, only to be met with a blanket refusal. See Exhibit A.

         Further, while Defendant’s Pre-Motion Conference Request attempts to describe the
 existence of this alleged agreement (the Request for Information “RFI” form), Defendant fails to
 provide any specifics as to how or when Plaintiff may have completed this RFI form, such as a
 date, time, and/or IP address. Without any actual evidence of an actual agreement, coupled with
 the lack of specificity surrounding the circumstances of Plaintiff’s alleged agreement to arbitrate,
 Defendant cannot meet its burden of demonstrating that an agreement to arbitrate actually exists.
 Moreover, without such evidence this Court cannot perform its analysis of determining whether
 such an agreement is enforceable. See Zachman, 49 F.4th 95 at 101(“Only if the court concludes
 an agreement to arbitrate exists does it determine (1) the scope of the agreement to arbitrate; (2)
 whether Congress intended any federal statutory claims asserted to be non-arbitrable; and (3) if
 some, but not all, of the claims in the case are arbitrable, whether to stay the balance of the
 proceedings pending arbitration.”).

  II.   Plaintiff’s Complaint Adequately States a Claims for Relief With Respect to
        Defendant’s Violations of the Do-Not-Call Provisions of the TCPA

     Plaintiff further opposes Defendant’s anticipated motion to dismiss because Plaintiff
 sufficiently states a claim for relief under the TCPA in his Complaint. Under Federal Rule of Civil
 Procedure 8(a)(2) a pleading must contain a short and plain statement of the claim showing that


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Case 2:25-cv-02001-AMD-SIL           Document 11        Filed 06/11/25       Page 3 of 3 PageID #: 35




 the pleader is entitled to relief. The Rule 8 pleading standard does not require detailed factual
 allegations. See Bell Atlantic Corp. v. Twombly, 550. U.S. 544, 555 (2007). When considering a
 motion to dismiss under Federal Rules of Civil Procedure, a court should “draw all reasonable
 inferences in [the plaintiff’s] favor, assume all well-pleaded factual allegations to be true, and
 determine whether they plausibly give rise to an entitlement to relief.” Faber v. Metro. Life Ins.
 Co., 648 F.3d 98, 104 (2d Cir. 2011)1. “A claim has facial plausibility when the plaintiff pleads
 factual content that allows the court to draw the reasonable inference that the defendant is liable
 for the misconduct alleged.” United States v. Wolin, 489 F.Supp.3d 21, at *26 (E.D.N.Y.
 September 28, 2020).

     Here, Plaintiff alleges—with detailed factual support—that he opted out from Defendant’s
 telemarketing text messages using standard opt out language; that Defendant immediately
 acknowledged Plaintiff’s opt out requests; that Defendant has the capability of complying with
 Plaintiff’s opt out requests, yet it fails to ensure that Plaintiff and the class members opt out
 requests are not honored. See Complaint [ECF No. 1], at ¶¶ 15-20. Plaintiff further alleges that
 based on these facts (Plaintiff’s repeated opt out requests using Defendant’s designated opt out
 language, “STOP,” Defendant’s repeated acknowledgement of Plaintiff’s opt out requests and
 Defendant’s repeated failure to honor Plaintiff’s opt out requests) “Defendant has failed to
 maintain a master optout list and/or failed to maintain internal policies to sufficiently honor the
 opt-out requests made by Plaintiff and the Class members.” Id. at ¶ 21. See also Id. at ¶¶26-27
 (further describing Defendant’s failure to comply with 47 C.F.R. § 64.1200(d). Accordingly,
 Plaintiff has stated a claim that survives a motion to dismiss. Plaintiff’s allegations, that Defendant
 violated the TCPA’s Do Not Call Policies under 47 C.F.R. § 64.1200(d) must be taken as true at
 the pleadings stage. See Bell Atlantic Corp. v. Twombly, 550. U.S. 544, 555 (2007); Faber v. Metro.
 Life Ins. Co., 648 F.3d 98, 104 (2d Cir. 2011); United States v. Wolin, 489 F.Supp.3d 21, at *26
 (E.D.N.Y. 2020).

        Finally, Defendant’s anticipated motion to dismiss ancillary state law claims (which are
 not being brought in this Complaint) should not be permitted at all. This a simple one-count
 Complaint based on Defendant’s violations of the TCPA’s Do Not Call Policies under 47 C.F.R.
 § 64.1200(d).

         Accordingly, Plaintiff respectfully requests that this Court (1) deny Defendant’s request
 for a pre-motion conference at this time; (2) order Defendant to produce any evidence it intends to
 rely upon in support of its anticipated motions; and (3) order the parties to engage in good faith
 resolution discussions for period of fourteen days following Plaintiff’s receipt of such evidence.

                                                                Respectfully submitted,
                                                                /s/ Andrew Shamis
                                                                Andrew Shamis, Esq.

 cc: Steven P. Benson, Esq. [via ECF]



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     All internal citations and quotations omitted and emphasis added, unless otherwise noted.


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